
PER CURIAM.
This is an untimely appeal from an order rendered January 22,. 2015. The Court dismisses this appeal sua sponte for lack of jurisdiction, but without prejudice to the defendant filing a proper petition seeking medical treatment pursuant to 42 United States Code section 1983 or conditional medical release under section 947.149, Florida Statutes. See Davis v. Bay County Jail, 155 So.3d 1173 (Fla. 1st DCA 2014); McAlhany v. State, 718 So.2d 840 (Fla. 4th DCA 1998); Bennett v. State, 699 So.2d 840 (Fla. 3d DCA 1997). We express no opinion on the merits of any such petition.
